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A091 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                for the
                                                    District of South Carolina

                  United States of America                         )
                               V.                                  )
                                                                   )
                  lsai RAMIREZ-CABUS,
                                                                   )
               a.k.a. lsai Ramirez COBUS                           )
                                                                   )
                                                                   )
                         Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 February 11, 2019              in the county of               Jasper        in the
                      District of         South Carolina       , the defendant(s) violated:

            Code Section                                                     Offense Description
Title 8, United States Code, Section           Did knowingly and unlawfully enter and was found in the United States of
1326(a).                                       America, not having obtained the express consent of the Attorney General or
                                               Secretary of Homeland Security to reapply for admission thereto; said
                                               defendant then being an alien and having been deported from the United
                                               States to Honduras on August 5, 2014.




         This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT




         !if Continued on the attached sheet.




Sworn to before me and signed in my presence.


Date:   ~-.,l l ~                      2-ot~
                                I

City and state:                Charleston, South Carolina                    Bristow Marchant, United States
                                                                                              Printed name and title
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STATE OF SOUTH CAROLINA             }
                                    }                             AFFIDAVIT
COUNTY OF JASPER                    }


PERSONALLY APPEARED before me Deportation Officer Maria E. Somers,
Charleston, SC Violent Criminal Alien Section, who, being first duly sworn deposes
and states as follows:

   1. I, Maria E. Somers, have been employed as a Deportation Officer for the Department
      of Homeland Security, Immigration and Customs Enforcement (ICE) since July
      2007. I have been employed with ICE (formerly known as the Immigration and
      Naturalization Service) since September 2002. During that time, I have conducted
      and participated in numerous administrative and criminal investigations involving
      violations of the United States Immigration and Nationality Act. I have functioned in
      a variety of capacities, to include being assigned to the Enforcement and Removal
      Operations (ICE-ERO), Violent Criminal Alien Section, which identifies and
      investigates illegal aliens with criminal histories that are subject to prosecution,
      including violations of Title 8, United States Code (U.S.C.), Section 1326, Illegal
      Reentry of a Removed Alien;

   2. That the information contained in this affidavit is based on my personal participation
      in this investigation and from information provided to me by other law enforcement
      officers. As this affidavit is being submitted for the limited purpose of establishing
      probable cause to support the arrest of Isai RAMIREZ-CAB US, a.k.a. Isai Ramirez
      COB US, (henceforth the "Subject") for violation of federal law, including, but not
      limited to: 8 U.S.C.§ 1326(a), I have not included each and every fact known to me
      concerning this investigation and have set forth only those facts that I believe are
      necessary for said purpose;

   3. In my capacity as the Deportation Officer assigned to this case, I reviewed the records
      of the U.S. Department of Homeland Security relating to the Subject's Immigration
      file number A088 237 116. I also consulted with ICE-ERO Charleston, South
      Carolina Criminal Alien Program (CAP) officers, who conducted additional
      investigatory actions related to this case;

   4. On February 11, 2019, Subject was encountered by Charleston, SC CAP officers
      while he was detained at the Jasper County Detention Center after being arrested by
      the Hardeeville Police Department for driving under the influence and other traffic
      violations. Alienage and inadmissibility were determined by ICE ERO Officers
      through a biometric match of the Subject's fingerprints which came back to a prior
      immigration encounter. Record checks confirmed that the Subject was a previously
      deported alien in violation of the Immigration and Nationality Act, therefore an
      immigration detainer was lodged with the Jasper County Detention Center;

   5. On March 21, 2019, Subject was released and turned over to ICE-ERO
      custody pursuant to the previously issued Immigration Detainer after posting
      bond for the pending charges;
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6. On March 21, 2019, Subject was transported to the Charleston ICE-ERO office
   for processing and to conduct fingerprint checks to confirm identity,
   immigration/criminal record. His fingerprints were entered into the Integrated
   Automated Fingerprint Identification System (IAFIS), which is directly connected
   with the National Crime Information Center. The IAFIS system indicated that the
   Subject is assigned an FBI number and a State Identification (SID) number. The
   NCIC record for the FBI and SID numbers also revealed that he is a previously
   removed alien. During the course of the investigation, the following information
   was collected from immigration and other law enforcement indices and review of
   the immigration file (A088 237 116):

           (a) That the Subject's true and correct name is Isai RAMIREZ-CABUS,
               a.k.a. Isai Ramirez COBUS;
           (b) That the Subject was born in 1986 in HONDURAS;
           (c) That the Subject is a native and citizen ofHONDURAS;
           (d) That the Subject last entered the United States at or near an unknown
               place, on an unknown date;
           (e) That on March 12, 2006, Subject was arrested by the Beaufort
               County Sheriff's Office for the offense of Criminal Sexual Conduct
               - yd Degree;
           (f) That on May 6, 2009, Subject was charged by the Apopka, Florida
              Police Department for the offense of Possession of Cocaine, charges
              pending. Outstanding arrest warrant with Florida extradition only;
           (g) That on September 12, 2009, Subject was arrested by the Beaufort
               County Sheriff's Office for traffic violations and placed into custody
               for other pending charges;
           (h) That on October 26, 2009, Subject was convicted in the General
               Sessions Court, Beaufort County, South Carolina for the offense of
               Assault/Assault and Battery High and Aggravated Nature (ABRAN)
               and was sentenced to six (6) month's confinement and given credit
               for time served;
           (i) That on December 14, 2009, Subject, a citizen of Honduras, was
               ordered removed to Honduras by an Immigration Judge in Charlotte,
               North Carolina and was removed to Honduras on February 16, 2010
               via Columbus, Georgia;
           U) That on October 9, 2013, Subject's prior order ofremoval was
               reinstated by Border Patrol (BP) Officers in Kingsville, Texas and he
               was removed to Honduras on October 15, 2013 via Harlingen, Texas;
           (k) That on July 30, 2014, Subject's prior order ofremoval was reinstated
               by Border Patrol (BP) Officers in Kingsville, Texas and he was
               removed to Honduras on August 5, 2014 via Brownsville, Texas;

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    7. On March 21, 2019, Subject was served with a Notice oflntent/Decision to
       Reinstate Prior Order in North Charleston, SC, which he did not contest;

    8. On March 21, 2019, ICE-ERO officers conducted automated record checks
       of immigration indices and were unable to locate any record that the Subject
       was granted permission by the Attorney General or the Secretary of the
       Department of Homeland Security to reapply for admission to the United
       States after removal. Record checks confirmed that there are no pending
       applications on the Subject's behalf;

    9. Based on the foregoing, I submit there is probable cause to believe that Isai
       RAMIREZ-CABUS, a.k.a. Isai Ramirez COBUS is in violation of 8 U.S.C. §
       1326(a), in that, on or about February 11, 2019, in the District of South
       Carolina, County of Jasper, he did knowingly and unlawfully enter and was
       found in the United States of America, not having obtained the express consent
       of the Attorney General or Secretary of Homeland Security to reapply for
       admission thereto; said Subject then being an alien and having been removed
       from the United States to Honduras on August 5, 2014.

This Affidavit has been reviewed by AUSA Dean H. Secor.




                                        /~/t~                ~~
                                    Maria S mers, Deportation Officer
                                    Immigration and Customs Enforcement




Subscribed and sworn to before me on this- - - - -




                                    BRISTOW MARC
                                    UNITED STATES




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